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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                     *
vs.                                               *    Case No.: 21-15-APM
THOMAS EDWARD CALDWELL                            *
        *      *       *      *       *       *        *     *         *       *     *

                                             ORDER
        Upon consideration of the Defendant’s Unopposed Motion to Modify Conditions of
Release, it is hereby ordered by the United States District Court for the District of Columbia that
the Motion is granted and that the Defendant shall be permitted to accompany his wife, Sharon
Caldwell, to the 167th Airlift Wing (Air Force Reserve) in Martinsburg, WV on December 21,
2023, as approved by Pretrial Services, for the purpose of renewing Mrs. Caldwell’s military ID
card.



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        Date                                  Honorable Amit P. Mehta
                                              United States District Court
